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Claims Chart Comparison between U.S. Des. 551400
and
Design Sold as “Double Elevated Feeder (plastic)” by
Dexas International Ltd.

Des. 551400 Accused Infringing Product

FIG. l is a perspective view of an elevated pet feeder
having attachable extension bowls and containers,
showing my new design.

Loadl'ng mom

an

 

FIG. 2 is a front elevational view, the opposite side
being a mirror image thereof;

 

FIG. 3 is a left side elevational view
thereof;

 

 

 

 

 

    

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Claims Chart Comparison between U.S. Des. 551400
and
Design Sold as “Double Elevated Feeder (plastic)” by
Dexas International Ltd.

Des. 551400 Accused Infringing Product

FIG. 4 is a right side elevational view thereof;

 

FIG. 4 is a right side elevational view thereof;

 

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Claims Chart Comparison between U.S. Des. 551400
and
Design Sold as “Double Elevated Feeder (plastic)” by
Dexas International Ltd.

Des. 467,045 Accused Infringing Product

FIG. 6 is a bottom plan view thereof.

 

